               UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF WISCONSIN

 UNITED STATES OF AMERICA,

                           Plaintiff,               Case No. 15-CR-83-JPS-4
 v.

 JOVAN CUNNINGHAM,

                           Defendant.                               ORDER

       On November 3, 2016, the defendant, Jovan Cunningham, was

charged in an four-count Superseding Indictment, which alleged violations

of Title 21, United States Code, Sections 841(a)(1) and 846 and Title 18, United

States Code, Section 1956. (Docket #83). The defendant has also been charged

in a one-count Information, which alleges a violation of Title 21, United

States Code, Section 841(a)(1), 824(b)(1)(B), and 846. (Docket #185). On

June 28, 2016, Mr. Cunningham filed a plea agreement resolving the pending

charges against him; specifically, the defendant agreed to waive prosecution

by indictment in open court and to plead guilty to the charge contained in

the Information. (Docket #185).

       The United States of America and Mr. Cunningham appeared before

Magistrate Judge William E. Duffin on July 26, 2016, pursuant to Federal Rule

of Criminal Procedure 11. (Docket #208, #226). Mr. Cunningham waived

indictment and pled guilty to the offense charged in the information. (Docket

#226, #228). After cautioning and examining Mr. Cunningham under oath

concerning each of the subjects mentioned in Rule 11, Magistrate Duffin

determined that the guilty plea was knowing and voluntary, and that the

offense charged was supported by an independent factual basis containing

each of the essential elements of the offense. (Docket #226, #228).


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       Thereafter, Magistrate Duffin filed a Report and Recommendation

with this Court, recommending that: (1) Mr. Cunningham’s plea of guilty be

accepted; (2) that a presentence investigation and report be prepared; and (3)

that Mr. Cunningham be adjudicated guilty and have a sentence imposed

accordingly. (Docket #228). Pursuant to General L. R. 72(c) (E.D. Wis.), 28

U.S.C.§ 636(b)(1)(B), and Federal Rules of Criminal Procedure 59(b) or 72(b)

if applicable, the parties were advised that written objections to that

recommendation, or any part thereof, could be filed within fourteen days of

the date of service of the recommendation.

       To date, no party has filed such an objection.

       The Court has considered Magistrate Duffin’s recommendation and,

having received no objection thereto, will adopt it.

       Accordingly,

       IT IS ORDERED that Magistrate Judge William E. Duffin’s report and

recommendation (Docket #228) be and the same is hereby ADOPTED.

       Dated at Milwaukee, Wisconsin, this 23rd day of August, 2016.

                                   BY THE COURT:




                                   J.P. Stadtmueller
                                   U.S. District Judge




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